Exhibit 1
                              CERTIFICATE OF TRANSLATION


I, Bingjie Liu, an attorney licensed in the State of New York (United States) and a court-certified

interpreter of the State Court of the State of New York, am competent to translate from Chinese

into English, and certify that the translation of the documents attached to this certificate is true

and accurate to the best of my abilities.




_________________________

Bingjie Liu



Date: 7/7/2023
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1.1. Corporation Inforamtion

 Company’s Name          Ningbo Sunlight           English Name              Ningbo Sunlight
                         Electrical Appliance                                Electrical Appliance
                         Co., Ltd.                                           Co., Ltd.
 Used Name               Ningbo Sunlight           Registration No.          330200400011799
                         Electrical Appliance
                         Company
 Unified Social Credit   91330200756283354Q        Taxpayer Identification   91330200756283354Q
 Code                                              No.
 Import and export       3302756283354             Legal Representative      Qi Song
 enterprise code
 Organization code       75628335-4                Registered Capital        160,000,000 RMB
 Actual Capital          160,000,000 RMB           Industry                  Manufacturing
 Type of Entity          Corporation (listed,      Registration Status       Good Standing
                         natural personal
                         investment or holding
                         shares)
 Incorporation Date      3/11/2004                 Approval Date                 11/11/2020
 Business Term           3/11/2004 – no fixed      Registration Authority        Ningbo City Market
                         term                                                    Supervision
                                                                                 Administration
 Size of Employee        Less than 50                Insured People              6
 Registered Address      Zhejiang Province, Ningbo City, Jiangbei District, Changxing Road No. 199,
                         Building No. 10, Room 202
 Scope of Business       Manufacture and processing of electric heating appliances, electrical
                         appliances and accessories; leasing of houses and sites and business
                         management consulting services; self-supporting and agent for the import
                         and export of all kinds of goods and technologies, except for the goods and
                         technologies that are restricted or prohibited by the state.

1.2 Shareholder Information

 No.                     Shareholder’s Name         Percentage               Shares (number)
 1                       Ningbo Sunlight            16.91%                   27,052,500
                         Electrical Technology
                         Co., Ltd
 2                       Shenzhen City Zhouji       15.63%                   25,000,000
                         Tongshang Investment
                         Co., Ltd
 3                       Xizang Dingxin             14.90%                   23,843,294
                         Chuang Capital
                         Management Co., Ltd
                                       [intentionally omitted]
                                                                       联系电话：400-928-2212

一、基本信息
1.1 工商信息
 企业名称              宁波圣莱达电器股份有限公司            英文名          Ningbo SUNLIGHT Electrical
                                                         APPLIANCE Co., Ltd.
 曾用名               宁波圣莱达电器有限公司              注册号          330200400011799
 统一社会信用代码          91330200756283354Q       纳税人识别号       91330200756283354Q
 进出口企业代码           3302756283354            法定代表人        宋骐

 组织机构代码            75628335-4               注册资本         16000 万元人民币

 实缴资本              16000 万元人民币              所属行业         制造业

 企业类型              股份有限公司（上市、自然人投资          登记状态         存续
                   或控股）

 成立日期              2004-03-11               核准日期         2020-11-11
 营业期限              2004-03-11 至 无固定期限       登记机关         宁波市市场监督管理局

 人员规模              少于 50 人                  参保人数         6（2021 年报）

 注册地址              浙江省宁波市江北区长兴路 199 号 10 幢 202 室

 经营范围              电热电器、电机电器及配件的制造、加工；自有房屋、场地租赁及企业管理咨询服务；自营
                   和代理各类货物和技术的进出口，但国家限定经营或禁止进出口的货物和技术除外。

历史工商信息查询，请下载《企业信用报告专业版》

1.2 股东信息
 序号      股东名称                                        持股比例              持股数(股)

 1       宁波金阳光电热科技有限公司                               16.91%            27,052,500

 2       深圳市洲际通商投资有限公司                               15.63%            25,000,000

 3       西藏晟新创资产管理有限公司                               14.90%            23,843,294

 4       新时代信托股份有限公司                                 4.97%             7,952,000

 5       陈庆桃                                         3.75%             6,004,600

 6       杨柏忠                                         2.55%             4,080,000

 7       融通资本-招商银行-华润信托-华润信托·润金 76 号集合资金信            2.50%             4,004,560
         托计划

 8       赵爱芬                                         1.53%             2,450,000

 9       李风琴                                         1.38%             2,211,600

 10      陈飞                                          1.05%             1,675,500
以上出资比例信息可能滞后或未显示，如需准确的股东出资比例，请下载《企业信用报告专业版》。
历史股东查询，请下载《企业信用报告专业版》

1.3 主要人员
 序号      姓名        职务           持股数     持股比例   最终受益股份         本届任期             公告日期

 1       师彦芳       监事会主席        -       -      -              2018-08-31 至     2021-12-27
    Confidential
企查查科技有限公司                                                            Qin_00000204           4
QCC.COM

1.1. Corporation Inforamtion

 Company’s Name          Run Yun Chengdu            English Name                Run Yun Chengdu
                         Culture                                                Culture
                         Communication Co.,                                     Communication Co.,
                         Ltd.                                                   Ltd.
 Used Name               -                          Registration No.            510107000234230
 Unified Social Credit   91510100553561481Q         Taxpayer Identification     91510100553561481Q
 Code                                               No.
 Import and export       -                          Legal Representative        Jianjun Liu
 enterprise code
 Organization code       55356148-1                 Registered Capital          11,851,851.85 RMB
 Actual Capital          11,851,851.85 RMB          Industry                    Leasing and Business
                                                                                Service
 Type of Entity          Limited Liability          Registration Status         Good Standing
                         Company (Taiwan,                                       (operating, open
                         Hong Kong, Macau,                                      business, on records)
                         and overseas
                         investment)
 Incorporation Date      4/12/2010                  Approval Date                  1/14/2020
 Business Term           5/25/2010 to 4/11/2030     Registration Authority         Chengdu City Market
                                                                                   Supervision
                                                                                   Administration
 Size of Employee        Less than 50                 Insured People               -
 Registered Address      Sichuan Province Chengdu City Wuhou District, Yulin East Road No. 5, 2-3-
                         5.
 Scope of Business       Planning cultural and artistic exchange activities (excluding performances);
                         exhibition display agency; corporate image design (excluding advertising);
                         machinery and equipment leasing (excluding automobiles); domestic
                         business information consulting (except intermediary services); wholesale
                         and retail office supplies, computer hardware, general merchandise; stage
                         and stage design; and other services. domestic business information
                         consulting (except intermediary services); wholesale and retail office
                         supplies, computer hardware, daily-use department stores; stage Equipment
                         installation; project investment management (shall not engage in illegal
                         fund-raising, absorption of public funds and other financial activities; the
                         above scope of business does not include national laws and regulations
                         restrict or prohibit the project, the project of the project of the project. The
                         above business scope does not include national laws and regulations restrict
                         or prohibit the project, except for the implementation of special management
                         measures involving state regulations access, involving the license with the
                         relevant license to carry out business activities). The above scope of business
                         does not include items restricted or prohibited by national laws and
                         regulations, except for those involving the implementation of special
                         management measures for access by the state, and the relevant permits to
                         carry out business activities).

1.2 Shareholder Information
No.   Shareholder’s Name   Percentage           Contribution    Contribution Date
                                                (ten thousand
                                                RMB)
1     Shenzhen Xingmei     43.0131%             510             -
      Shengdian Culture
      Media Group Co.,
      Ltd
2     SMI International    41.3438%             490             4/12/2012
      Cinemas Limited
                                 [intentionally omitted]
                                                                          联系电话：400-928-2212

一、基本信息
1.1 工商信息
 企业名称              成都润运文化传播有限公司                 英文名          Run Yun Chengdu Culture
                                                             Communication Co., Ltd.
 曾用名               -                            注册号          510107000234230
 统一社会信用代码          91510100553561481Q           纳税人识别号       91510100553561481Q
 进出口企业代码           -                            法定代表人        刘建军

 组织机构代码            55356148-1                   注册资本         1185.185185 万元人民币

 实缴资本              1185.06 万元人民币                所属行业         租赁和商务服务业

 企业类型              有限责任公司（台港澳与境内合资） 登记状态                     存续（在营、开业、在册）


 成立日期              2010-04-12                   核准日期         2020-01-14
 营业期限              2010-05-25 至 2030-04-11      登记机关         成都市市场监督管理局

 人员规模              少于 50 人                      参保人数         -
 注册地址              四川省成都市武侯区玉林东路 5 号 2-3-5

 经营范围              策划文化艺术交流活动(不含演出);展览展示代理;企业形象设计(不含广告);机械设备租赁(不
                   含汽车);国内商务信息咨询(中介服务除外);批发零售办公用品、计算机硬件、日用百货;舞台
                   设备安装;项目投资管理(不得从事非法集资、吸收公众资金等金融活动;以上经营范围不含国
                   家法律法规限制或禁止的项目,涉及国家规定实施准入特别管理措施的除外,涉及许可证的凭
                   相关许可证方可开展经营活动)。

历史工商信息查询，请下载《企业信用报告专业版》

1.2 股东信息
 序号      股东名称                        持股比例        认缴出资额(万元)                     认缴出资日期

 1       深圳星美圣典文化传媒集团有限公             43.0313%    510                           -
         司

 2       星美国际影院有限公司                  41.3438%    490                           2012-04-12

 3       湖州汇恒赢股权投资合伙企业（有             3.1250%     37.037037                     -
         限合伙）

 4       湖州创泰融元投资管理合伙企业              3.1250%     37.037037                     -
         （有限合伙）

 5       湖州汇荣晟股权投资合伙企业（有             3.1250%     37.037037                     -
         限合伙）

 6       建银国际（深圳）投资有限公司              1.8750%     22.222222                     -

 7       东证归鼎（上海）投资合伙企业              1.8750%     22.222222                     -
         （有限合伙）

 8       焰石鸿源 4 号（平潭）投资合伙企           1.2500%     14.814815                     -
         业（有限合伙）


    Confidential
企查查科技有限公司                                                              Qin_00000299         4
QCC.COM

1.1. Corporation Inforamtion

 Company’s Name          Shenzhen Xingmei           English Name               Shenzhen Xingmei
                         ShengDian                                             ShengDian
                         Culture Media Group                                   Culture Media Group
                         Co., Ltd.                                             Co., Ltd.
 Used Name               Shenzhen City Run Yun      Registration No.           440301106893448
                         Technology
                         Development Co., Ltd;
                         Shenzhen City Ming
                         Xiang Industrial
                         Development Co., Ltd
 Unified Social Credit   914403007451916737         Taxpayer Identification    914403007451916737
 Code                                               No.
 Import and export       -                          Legal Representative       Zhengqiang Huang
 enterprise code
 Organization code       74519167-3                 Registered Capital           680,000,000 RMB
 Actual Capital          73,000,000 RMB             Industry                     Wholesale and retail
                                                                                 trade
 Type of Entity          Limited Liability           Registration Status         Good Standing
                         Company (natural                                        (operating, open
                         individual only)                                        business, on records)
 Incorporation Date      1/3/2003                    Approval Date               4/22/2021
 Business Term           1/3/2003 to 1/3/2023        Registration Authority      Shenzhen City Market
                                                                                 Supervision
                                                                                 Administration
 Size of Employee        Less than 50                Insured People              -
 Registered Address      Shenzhen City, Longhua District, Minzhi Community, Xinniu Community,
                         Minzhi Avenue, No. 690, Dong Meng Building, Fllor 3, F02
 Scope of Business       General business items are: cultural activities planning; ceremonial brand
                         planning; exhibition planning; advertising print, animation, landscape
                         design; investment information consulting (including restricted items); film
                         and television project investment; ticketing agency; investment in the
                         establishment of industry (specific items to be declared separately);; and
                         Investment information consulting (excluding restricted items); film and
                         television project investment; ticketing agent; investment in the
                         establishment of industry (specific projects are separately declared). Online
                         trade; development and sales of communication products; domestic trade
                         (excluding exclusive, proprietary, proprietary goods); import and export
                         business (laws, administrative regulations, decisions of the State Council
                         prohibit the use of the Internet). (except for items prohibited by laws,
                         administrative regulations and decisions of the State Council, and items
                         restricted only after obtaining permission). Permitted business
                         Project is: the operation of telecommunications services.

1.2 Shareholder Information
No.   Shareholder’s Name   Percentage   Contribution    Contribution Date
                                        (ten thousand
                                        RMB)
1     Hui Qin              100%         68000           5/31/2016
                                                                           联系电话：400-928-2212

一、基本信息
1.1 工商信息
 企业名称              深圳星美圣典文化传媒集团有限公            英文名             Shenzhen Xingmei ShengDian
                   司                                          Culture Media Group Co., Ltd.
 曾用名               深圳市润运科技发展有限公司，深            注册号             440301106893448
                   圳市名翔实业发展有限公司

 统一社会信用代码          914403007451916737         纳税人识别号          914403007451916737
 进出口企业代码           -                          法定代表人           黄政强

 组织机构代码            74519167-3                 注册资本            68000 万元人民币

 实缴资本              7300 万元人民币                 所属行业            批发和零售业

 企业类型              有限责任公司（自然人独资）              登记状态            存续（在营、开业、在册）

 成立日期              2003-01-03                 核准日期            2021-04-22
 营业期限              2003-01-03 至 2023-01-03    登记机关            深圳市市场监督管理局

 人员规模              少于 50 人                    参保人数            -
 注册地址              深圳市龙华区民治街道新牛社区民治大道 690 号东盟大厦 3 楼 F02

 经营范围              一般经营项目是:文化活动策划;礼仪品牌策划;展览展示策划;广告平面、动漫、景观的设计;投
                   资信息咨询(不含限制项目);电影电视项目投资;票务代理;投资兴办实业(具体项目另行申报);
                   网上贸易;通讯产品的开发与销售;国内贸易(不含专营、专控、专卖商品);经营进出口业务(法
                   律、行政法规、国务院决定禁止的项目除外,限制的项目须取得许可后方可经营)。,许可经营
                   项目是:经营电信业务。

历史工商信息查询，请下载《企业信用报告专业版》

1.2 股东信息
 序号      股东名称                        持股比例      认缴出资额(万元)                        认缴出资日期

 1       覃辉                          100%      68000                            2016-05-31
以上出资比例信息可能滞后或未显示，如需准确的股东出资比例，请下载《企业信用报告专业版》。
历史股东查询，请下载《企业信用报告专业版》

1.3 主要人员
 序号      姓名                          职务                持股比例                最终受益股份

 1       黄政强                         执行董事,总经理,法        -                   -
                                     定代表人

 2       潘梦                          监事                -                   -

 3       李宝成                         监事                -                   -
对外投资信息及在外任职信息请下载《董监高投资任职及风险报告》。
历史高管查询，请下载《企业信用报告专业版》

1.4 对外投资
 序号      被投资企业名称          状态       持股比例      认缴出资额         认缴出资日期       所属省份       所属行业

    Confidential
企查查科技有限公司                                                               Qin_00000399          4
Confidential   Qin_00000958
Confidential   Qin_00000959
Confidential   Qin_00000960
Confidential   Qin_00000961
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